               Case 3:11-cr-00452-MAS           Document 257          Filed 04/25/12          Page 1 of 3 PageID: 1211
                                   UNITED STATEs DISTRICT                            CouRT
                       for the                      District of                          New Jersey

                United States of America                                             AMENDED
                                                                             ORDER SETTING CONDITIONS
                              v.                                                    OF RELEASE
                GWENDOLYN BEACH
                                                                               Case Number: CR.l1-452-15(FLW)
                        Defendant

IT IS ORDERED on this 25
                       T14
                              day of April 2012 that the release of the defendant is subject to the following
                                                         ,


conditions:
        *Defendants home incarcerated with electronic monitoring condition shall be removed.

          (1) The defendant must not violate any federal, state or local law while on release.
          (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
              42 U.S.C. § 14135a.
          (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
              any change in address and/or telephone number.
          (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.
                                                             Release on Bond

Bail be fixed at    $______________________       and the defendant shall be released upon:

      (    )    Executing an unsecured appearance bond ( ) with co-signor(s)
      (    )    Executing a secured appearance bond ( ) with co-signor(s)
                and ( ) depositing in cash in the registry of the Court       of the bail fixed; and/or ( ) execute an
                agreement to forfeit designated property located at
                Local Criminal Rule 46. 1(d)(3) waived/not waived by the Court.
      (    )    Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
                in lieu thereof

                                                  Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is further ordered that the release of the defendant is
subject to the condition(s) listed below:

IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
      ( ) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
          enforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
      ( ) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper
          with any witness, victim, or informant; not retaliate against any witness, victim or informant in this case.
     (  ) The defendant shall be released into the third party custody of_______________________________________

                who agrees (a,) to supervise the defrndant in accordance with all the conditions of release, (b,i to use even ejfbrt
                to assure the appearance oft/ic clefindaiit at all scheduled court proceedings, and (c} to not ijj the court
                immediately in the event the defendant violates any conditions of release or disappears.


                 Custodian Signature:                                                 Date:
                                                                                                                                P\C1E   )
            Case 3:11-cr-00452-MAS          Document 257   Filed 04/25/12    Page 2 of 3 PageID: 1212
(X)          Te defendant’s travel is restricted to ( X ) New Jersey ( X ) Other   Eastern District of Virginia
              ( X ) unless approved by Pretrial Services (PTS).
(   Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
        )
( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from
                                                                                      obstructing or tampering with
    substance abuse testing procedures/equipment.
( ) Refrain    from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
    home in which the defendant resides shall be removed by                         and verification provided to PTS.
( ) Mental health testing/treatment as directed by PTS.
( ) Abstain from the use of alcohol.
( ) Maintain current residence or a residence approved by PTS.
( ) Maintain or actively seek employment and/or commence an education program.
( ) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
( ) Have no contact with the following individuals:
( ) Defendant is to participate in one of the following home confinement program components and abide by
     all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
     location verification system. You shall pay all or part of the cost of the program based upon your ability to
     pay as determined by the pretrial services office or supervising officer.
      ( ) (i) Curfew. You are restricted to your residence every day ( ) from                    to           or
                   ( ) as directed by the pretrial services office or supervising officer; or
      ( ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
                   education; religious services; medical, substance abuse, or mental health treatment;
                   attorney visits; court appearances; court-ordered obligations; or other activities pre
                   approved by the pretrial services office or supervising officer. Additionally, employment
                   ( ) is permitted ( ) is not permitted.
      ( ) (iii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                   for medical necessities and court appearances, or other activities specifically approved by
                   the court.
 ( ) Defendant is subject to the following computer/internet restrictions which may include manual
      inspection and/or the installation of computer monitoring software, as deemed appropriate by
      Pretrial Services. The defendant shall pay all or part of the cost of the monitoring software based
      upon their ability to pay, as determined by the pretrial services office or supervising officer.
      ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                        -




                   connected devices.
      ( ) (ii) Computer No Internet Access: defendant is permitted use of computers or connected
                                  -



                   devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                    Servers, Instant Messaging, etc);
      ( )    (iii) Computer With Internet Access: defendant is permitted use of computers or connected
                   devices, and is permitted access to the Internet (World Wide Web, FTP Sites, fRC Servers,
                   Instant Messaging, etc.) for legitimate and necessary puiposes pre-approved by Pretrial
                   Services at [ j home [ j for employment purposes.
      ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                   the home utilized by other residents shall be approved by Pretrial Services, password
                   protected by a third party custodian approved by Pretrial Services, and subject to inspection
                   for compliance by Pretrial Services.

    (X) Other: ALL OTHER PREVIOUS CONDITIONS TO REMAIN IN FULL EFFECT.
    (        ) Other:
    (        )Other:
                                                                                                                Pagc 2

                                      ADVICE OF PENALTIES AND SANCTIONS
       Case 3:11-cr-00452-MAS              Document 257         Filed 04/25/12            Page 3 of 3 PageID: 1213
TO THE DEJ’ENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for you:
arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of coui
and could result in imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not mor
than ten years and for a federal misdemeanor offense the punishment is an additional prison term ofnot more than one yeai
This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penaltie
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
            If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you ar
convicted of:
                (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or mor
                    —  you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
                (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years yoi—




                     will be fined not more than $250,000 or imprisoned for not more than five years, or both;
                (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years,
                                     —




                     both;
                (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or
                                    —




                     both.
                A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentenc
you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promis
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.


                                                                             Defndant Signature

                                                              Painter, Viginia
                                                                                      City and State

                                          Directions to the United States Marshal
  ( X) The defendant is ORDERED released after processing.
  ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
          that the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
          defendant must be produced before the appropriate judg: at the time and place specified.
                                                                   44
 Date: April 25, 2012                                             j L            )   A’

                                                                 f           Judicial officer ‘s Signature
                                                             Freda L. Wolfson. U.S.D.J.
                                                                        Printed name and title
 (REV. 1/09)                                                                                                         PAGE 3 OF 3
